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                                                          July 26, 2023
VIA ECF

The Hon. John G. Koeltl
United States District Court
for the Southern District of New York
500 Pearl Street,
New York, NY 10007

         Re:      Banco San Juan Internacional, Inc. v. Federal Reserve Bank of New York,
                  No. 23-cv-6414 (JGK)

Dear Judge Koeltl:

        I represent the Federal Reserve Bank of New York (the “New York Fed”) and write in
advance of today’s telephonic conference to provide additional context relevant to plaintiff
Banco San Juan Internacional, Inc.’s (“BSJI”) proposed order to show cause seeking a temporary
restraining order (“TRO”) preventing the New York Fed from exercising its contractual right to
close BSJI’s master account on Monday, July 31, 2023.

        As the Court has recognized, preliminary injunctive relief “is one of the most drastic
tools in the arsenal of judicial remedies, . . . and should not be granted unless the movant, by a
clear showing, carries the burden of persuasion.” Joshi v. Trustees of Columbia Univ., 17-cv-
4112, 2020 WL 5125435, at *4 (S.D.N.Y. Aug. 31, 2020) (citations omitted). To carry its
burden here, BSJI must establish “(1) irreparable harm; (2) either a likelihood of success on the
merits or both serious questions on the merits and a balance of hardships decidedly favoring”
BSJI; “and (3) that a preliminary injunction is in the public interest.” Id. (citation omitted). BSJI
cannot carry its burden on any of these factors, let alone all of them, so there is no basis to
interfere with the New York Fed’s long-planned, well-documented and risk-based decision to
close BSJI’s account in accordance with the parties’ contracts.

       As to the merits, the New York Fed’s account relationship with BSJI is governed by
agreements that expressly give the New York Fed the contractual right to take the very action
BSJI now seeks to bar. BSJI’s Complaint and TRO brief omit this critical fact, notwithstanding
that BSJI has otherwise recognized these agreements’ obligations for years and the New York
Fed’s closure letters expressly invoked the relevant provisions. Vazquez Decl. Ex. 17 (April 24,
2023 Closure Letter); Vazquez Dec. Ex. 23 (June 30, 2023 Follow-up Letter).1
1
 The one purported contract BSJI’s papers cite, Lowell Decl. Ex. 1, is not even a contract because it is
not fully executed and does not apply to entities like BSJI. This document also has a termination clause.



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         BSJI has entered into two agreements with the New York Fed and the terms permitting
the New York Fed to close BSJI’s account here are clear. First, BSJI executed a Master Account
Agreement at the outset of the account relationship, and that contract states that BSJI “agrees to
the provisions of [Operating Circular 1 (“OC 1”)],” which is published by the Federal Reserve
and sets forth the terms under which a master account may be opened, maintained, and
terminated, OC 1 at 1.2 OC 1 provides that the New York Fed “may terminate a Master Account
Agreement” . . . at any time by notice to the Account Holder,” id. § 2.10.

       Then, just three years ago, BSJI entered into another agreement (in the wake of the
Federal Bureau of Investigation raiding its offices) that states: “to limit the Risks the Customer
[BSJI] poses to the Bank [New York Fed], the Bank [New York Fed] may suspend or terminate
the Customer’s [BSJI] access to one or more Financial Services [and] close the Customer’s
account.” Ex. A at 10 (Supplemental Terms and Conditions Governing the Provision of Services
to High-Risk Customers, executed March 16, 2020). The term Risk is defined broadly as “the
existence of, or the possibility of” any “harm” to the Bank, including harm related to compliance
with applicable laws and regulations. Id. at 2.

          BSJI cannot carry its burden of establishing a likelihood of success in the face of these
agreements and the detailed closure letters expressing the New York Fed’s well-founded and
well-documented risk concerns warranting closure. Valid and unambiguous contracts like these
must be enforced according to their terms. These facts not only foreclose the merits of BSJI’s
action; they show that the public interest warrants denying a TRO as well. Empower Energies,
Inc., v. SolarBlue, LLC, No. 16-cv-3220 (DLC), 2016 WL 5338555, at *13 (S.D.N.Y. Sept. 23,
2016) (enforcing contracts in public interest; “[p]arties entering into contracts have a right to
expect those contracts will be enforced”).

        Second, there is no irreparable harm that could justify blocking the New York Fed’s
contractually permitted planned closure. Wareh v. Lesperance, No. 16-CV-6210 (JGK), 2016
WL 5477784, at *5 (S.D.N.Y. Sept. 29, 2016) (“‘Irreparable harm is the single most important
prerequisite for the issuance of a preliminary injunction. . . . [T]he moving party must first
demonstrate that such injury is likely before other requirements for the issuance of an injunction
will be considered.”). BSJI’s assertion that the closure of its account will force it out of business
is factually wrong. Reserve Bank master accounts are not necessary for financial institutions to
access the U.S. financial system. In fact, thousands of institutions without master accounts
operate today, including the vast majority of institutions with BSJI’s banking license type.
Rather than holding an account at a Reserve Bank, these institutions operate through another


2
 https://www.frbservices.org/binaries/content/assets/crsocms/resources/rules-regulations/081621-
operating-circular-1.pdf
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correspondent banking relationship, i.e., they maintain an account at a correspondent bank other
than a Reserve Bank.

          BSJI seeks to escape this clear lack of irreparable harm by asserting that the act of closure
itself will cause it to be unable to secure a correspondent. But as noted, other institutions have
shown that is not the case, and the only support BSJI can offer is speculation, because there is no
evidence that BSJI ever actually pursued a correspondent in earnest. Impax Media Inc. v.
Northeast Advertising Corp., 17 Civ. 8272 (RWS), 2018 WL 358284, at *5 (S.D.N.Y. Jan. 10,
2018) (“‘[i]nstead of presenting concrete data . . . plaintiff offers only the self-serving statement
. . . that its business will collapse’ without an injunction”).3 In fact, BSJI rejected the New York
Fed’s offer to extend its closure date so that it could do so, and has otherwise told the New York
Fed that prior difficulty in securing and maintaining correspondent relationships was due to its
own risk profile, making any asserted harm here self-inflicted. Wright & Miller § 2948.1 (3d
ed.) (“[A] party may not satisfy the irreparable harm requirement if the harm complained of is
self-inflicted.”).

         Finally, the New York Fed notes this closure decision was communicated to BSJI three
months ago, on April 24, 2023. On June 30, the New York Fed told BSJI that no further closure
date extensions would be granted (unless, for example, they were tied to efforts to secure an
alternative correspondent relationship). BSJI’s 11th hour request for emergency relief seeking to
block the New York Fed’s exercise of its contractual rights—in papers that conspicuously fail to
mention those contracts—was a strategic choice, not a matter of practical necessity. The New
York Fed also emphasizes the negative broader impact that injunctive relief would have here.
The New York Fed relies on these and other agreements it enters into with sophisticated parties
to manage and mitigate risks posed to itself and to the broader economy and financial system
(swiftly, where necessary). Upending the rights at issue here would create significant
uncertainty about the enforceability of these and other provisions, including in connection with
critical risk-mitigation measures.

         While there are many other aspects of BSJI’s papers and arguments that are legally
deficient and factually inaccurate, the New York Fed brings these points to the Court’s attention
at this time so that it has a balanced perspective of this dispute heading into today’s conference.

                                                    Respectfully submitted,

                                                    /s/ Michael Brennan

3
 BSJI cites a single conclusory statement by an employee that “one bank” expressed “reticen[ce]” to
partner with it (Vazquez Decl. ¶ 71) (emphasis added), and other unsupported speculation of two paid
consultants (RJW Decl ¶ 6; WMI Decl. ¶ 20). See BSJI TRO Br. at 16.
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                   Héctor J. Vázquez
                   CFO

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